






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00330-CR








In re Adam Biegel









FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. 990020, HONORABLE BOB PERKINS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Adam Biegel seeks to appeal from an order denying his motion for forensic DNA
testing.  See Tex. Code Crim. Proc. Ann. arts. 64.01-.05 (West Supp. 2004).  The order was entered
on November 9, 2003.  Appellant filed notice of appeal on January 22, 2004, after the thirty-day
period for perfecting appeal had expired.  See Tex. R. App. P. 26.2(a)(1).  We lack jurisdiction to
dispose of the purported appeal in any manner other than by dismissing it for want of jurisdiction. 
See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522-23
(Tex. Crim. App. 1996).





The appeal is dismissed.



				__________________________________________

				Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed for Want of Jurisdiction

Filed:   July 15, 2004

Do Not Publish


